   Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 1 of 21 PageID #: 8




                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                          )
NICHOLAS HENDRICKS,                       )
                                          )
              Plaintiff,                  )
    v.                                    )    Case No. _____________________
                                          )
CORDIS CORPORATION, a corporation; and )       Removed from the Circuit Court of
CARDINAL HEALTH 105, INC., a corporation, )    Raleigh County, West Virginia
                                          )    Beckley Division
             Defendants.                  )
                                          )
                                          )


              NOTICE OF REMOVAL OF ACTION PURSUANT
                TO §§ 1332, 1441, AND 1446 BY DEFENDANTS
          CORDIS CORPORATION AND CARDINAL HEALTH 105, INC.




                  EXHIBIT A
Circuit Express Printable Report                                             Page 1 of 2
         Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 2 of 21 PageID #: 9




                                                         (/DEFAULT.ASPX)


                                                                                    Civil
                                                                          Case Information
                                                     Tenth Judicial Circuit of Raleigh County



                                                                                 18-C-415
                                                               Judge: ROBERT A. BURNSIDE, JR
                                                     NICHOLAS HENRICKS VS. CORDIS CORPORATION



   Plaintiff(s)
                                     Plaintiff Attorney(s)
   HENRICKS, NICHOLAS
                                         TIMOTHY P. LUPARDUS

   Defendant(s)
                                     Defendant Attorney(s)
   CARDINAL HEALTH 105, INC
   CORDIS CORPORATION
                                                                     N/A

   Date Filed: 09/21/2018
   Case Type:
   Appealed: 0
   Final Order Date: N/A
   Statistical Close Date: N/A



   Line          Date                    Action / Result
   0001          09/21/2018              CASE FILED/ ISSUED SUMMONS & COMPLAINT/ MAILED BACK TO ATTORNEY
   0002                                  FOR SERVICE. AP (LS)
   0003          10/02/2018              REC RET OF SERV "ACCEPTED" BY SEC OF STATE ON BEHALF OF
   0004                                  CARDINAL HEALTH ON 9/26/18 (AMY) (LS)
   0005          10/02/2018              REC RET OF SERV "ACCEPTED" BY SEC OF STATE ON BEHALF OF
   0006                                  CORDIS CORPORATION ON 9/26/18 (AMY) (LS)




These materials have been prepared by the Office of the Clerk of the various Circuit Courts from original sources and data believed to be reliable. The information
contained herein, however, has not been independently verified by the Office of the Clerk or Software Computer Group, Incorporated. The Office of the Clerk of the
Circuit Courts and Software Computer Group, Inc. assume no liability for the accuracy, completeness, or timeliness of the information contained herein.

Software Computer Group | PO Box 27 | Fraziers Bottom WV 25082




https://www.wvcircuitexpress.com/UserInterface/Report.aspx?CaseNumber=18-C-415&...                                                                        10/26/2018
Circuit Express Printable Report                                             Page 2 of 2
        Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 3 of 21 PageID #: 10




https://www.wvcircuitexpress.com/UserInterface/Report.aspx?CaseNumber=18-C-415&...   10/26/2018
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 4 of 21 PageID #: 11

                                                                       Service of Process
                                                                       Transmittal
                                                                       10/01/2018
                                                                       CT Log Number 534150894
TO:     Alicia Cautela
        Cardinal Health, Inc.
        7000 Cardinal Pl
        Dublin, OH 43017-1091

RE:     Process Served in Ohio

FOR:    Cardinal Health, Inc. (Domestic State: OH)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 NICHOLAS HENDRICKS, Pltf. vs. CORDIS CORPORATION and CARDINAL HEALTH 105,
                                 INC., Dfts. // To: CARDINAL HEALTH
                                 Name discrepancy noted.
DOCUMENT(S) SERVED:              Letter, Summons, Complaint
COURT/AGENCY:                    RALEIGH COUNTY - CIRCUIT COURT, WV
                                 Case # 18C415B
NATURE OF ACTION:                Product Liability Litigation - Manufacturing Defect - Optease Filter
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Columbus, OH
DATE AND HOUR OF SERVICE:        By Certified Mail on 10/01/2018 postmarked on 09/27/2018
JURISDICTION SERVED :            Ohio
APPEARANCE OR ANSWER DUE:        Within 30 Days after service of this summons, exclusive of the day of service
                                 (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):         Timothy P. Lupardus
                                 Lupardus Law office
                                 Post Office Box 1680
                                 Pineville, WV 24874
                                 304-732-0250
ACTION ITEMS:                    CT has retained the current log, Retain Date: 10/02/2018, Expected Purge Date:
                                 10/07/2018

                                 Image SOP

                                 Email Notification, Laura Garza laura.garza@cardinalhealth.com
                                 Email Notification, David Orensten david.orensten@cardinalhealth.com

                                 Email Notification, Corey Goldsand corey.goldsand@cardinalhealth.com

                                 Email Notification, Cindy Fricke cindy.fricke@cardinalhealth.com

                                 Email Notification, Joshua Stine joshua.stine@cardinalhealth.com

                                 Email Notification, Alicia Cautela alicia.cautela@cardinalhealth.com




                                                                       Page 1 of 2 / JB
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 5 of 21 PageID #: 12

                                                                  Service of Process
                                                                  Transmittal
                                                                  10/01/2018
                                                                  CT Log Number 534150894
TO:    Alicia Cautela
       Cardinal Health, Inc.
       7000 Cardinal Pl
       Dublin, OH 43017-1091

RE:    Process Served in Ohio

FOR:   Cardinal Health, Inc. (Domestic State: OH)




                                Email Notification, Mary Donahue mary.donahue@cardinalhealth.com

SIGNED:                         C T Corporation System
ADDRESS:                        4400 Easton Commons Way
                                Suite 125
                                Columbus, OH 43219
TELEPHONE:                      617-531-5859




                                                                  Page 2 of 2 / JB
                                                                  Information displayed on this transmittal is for CT
                                                                  Corporation's record keeping purposes only and is provided to
                                                                  the recipient for quick reference. This information does not
                                                                  constitute a legal opinion as to the nature of action, the
                                                                  amount of damages, the answer date, or any information
                                                                  contained in the documents themselves. Recipient is
                                                                  responsible for interpreting said documents and for taking
                                                                  appropriate action. Signatures on certified mail receipts
                                                                  confirm receipt of package only, not contents.
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 6 of 21 PageID #: 13
                                                                       U.S. POSTPCE )) PITI.EY BOWES
                                                                       4 r -' W
                                                                                     -        I
                                                                       ZIP 25311
                                                                       02 4fl      $ 006.37°
                                                                       0000336174SEP 27 2018




            I
         Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 7 of 21 PageID #: 14

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305


                     USPS CERTIFIED MAIL



                                                                                                  Mac Warner
                                                                                               Secretary of State
               III III I             U             111111
                                                                                              State of West Virginia
                                                                                            Phone: 304-558-6000
                  92148901 1261 34100002393486
                                                                                                     886-767-8683
                                                                                                   Visit us online:
                                                                                                  w.MFsos.com
CARDINAL HEALTH
CT CORPORATION SYSTEM
4400 EASTON COMMONS WAY
SUITE 125
COLUMBUS, OH 43219




    Control Number: 226196                                                    Agent: CT CORPORATION SYSTEM
             Defendant: CARDINAL HEALTH                                     County: Raleigh
                        4400 EASTON COMMONS WAY
                        SUITE 125                                       Civil Action: 18-C-415
                        COLUMBUS, OH 43219 US                     Certified Number: 92148901125134100002393486
                                                                       Service Date: 9/26/2018


I am enclosing:

      I summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your unauthorized foreign corporation.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your unauthorized foreign corporation as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
  Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 8 of 21 PageID #: 15




                                        SUMMONS
                        Circuit Court of Raleigh County, West Virginia

                                                             Civil Action No. la-C- LjIl5-y3


NICHOLAS HENDRICKS
                                     Plaintiff

               V.                                        SUMMONS

CORDIS CORPORATION and
CARDINAL HEALTH 105, INC.,
                                      Defendant                                         rn   t
                                                                                        -o
                                                                                        NJ   e'


                                                                                  CIO
                                                                                        1J
To:    CARDINAL HEALTH
       CT Corporation System                                                      rl    C    Cr
                                                                                        0    (.1)
       4400 Eastern Commons Way
       Suite 125
        'o1umbus, Ohio 43219


       IN THE NAME OF THE STATE OF WEST VIRG[NIA, you are hereby summoned and
required to serve upon Timothy P. Lupardus, plaintiffs attorney, whose address is
P.O. Box 1680 Pineville, West Virginia 24874, an answer, including any related counterclaim
you may have, to the complaint filed against you in the above-styled civil action, a true copy of
which is herewith delivered to you. You are required to serve your answer within 30 days after
service of this summons upon you, exclusive of the day of service. If you fail to do so,
judgement by default will be taken against you for the relief demanded in the complaint and you
will be thereafter barred from asserting in another action any claim you may have which must be
asserted by counterclaim in the above-styled action.



              grari
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 9 of 21 PageID #: 16


                                                                             p_I
                                                                                   04
        IN THE CIRCUIT COURT OF RALEIGH COUNTY, WEST

   NICHOLAS HENDRICKS,                                                              PLAINTIFF,

   V.                    CIVIL ACTION NO.:          I W C 4 15 }S
   CORDIS CORPORATION and
   CARDINAL HEALTH 105, INC.,                                                 DEFENDANTS.



         PLAINTIFF'S COMPLAINT AT LAW FOR MONEY DAMAGES AND
                        DEMAND FOR JURY TRIAL



          Plaintiff, Nicholas Hendricks, (hereinafter "Plaintiff'), by and through his

   undersigned attorney, files this, Complaint at Law for Money Damages and Demand for

   Jury Trial against the Defendant, Cordis Corporation and alleges as follows:

                  This is an action for damages relating to the "Defendants' development,

   testing, assembly, manufacturing, packaging, labeling, preparing, distribution, marketing,

   supplying, and/or selling the defective product sold under the name "Optease Retrievable

   Vena Cava Filter®" (hereinafter "Optease® Filter").

                                       I. THE PARTIES

          2.      Plaintiff's date of birth is 08/16/1994. At all times relevant to this action,

   Plaintiff was domiciled and resided and continues to be domiciled and reside at Lynco,

   West Virginia, and is a citizen of Wyoming County, West Virginia.

                  Defendant Cordis Corporation is an Ohio corporation with a principal

   place of business located in Bentleyville, Ohio 43017, Defendant Cordis Corporation

   regularly conducts business in the state of Ohio, and has as its agent for service of
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 10 of 21 PageID #: 17




    process, Jonathan Slain, 13 Orange Street, Chagrin Falls, Ohio 44022.

           4.      Cardinal Health 105, Inc., is an Ohio corporation with a principal place of

    business located in Dublin, Ohio, Defendant Cardinal Health 105, Inc. regularly conducts

    business in the state of Ohio, and has as its agent for service of process, CT Corporation

    System, 4400 Eastern Commons Way, Suite 125, Columbus, Ohio 43219.

                   Hereinafter, each of the above Defendants shall be collectively referred to

    as "Defendants".

                   Defendants develop, manufacture, sell and distribute medical devices for

    use in various medical applications including endovascular cardiology, and surgical

    products throughout the United States and around the world. Defendants' products

    include the Optease Retrievable Vena Cava Filter®, which are used for the prevention of

    recurrent pulmonary embolism via placement in the vena cava.



                    11. STATEMENT OF VENUE AND JURISIMCTION

                   Jurisdiction is proper in the this Court under the amount in controversy

    exceeds this Court's minimum jurisdictional requirement.

                   Venue is proper in this Court as a substantial part of the events or

    omissions giving rise to the claim occurred within this judicial district and the Defendants

    regularly conduct business in this county as their products are sold through and utilized

    by the medical professionals here.




                               [IL FACTUAL BACKGROUND


                                                 2
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 11 of 21 PageID #: 18




                   Defendants designed, researched, developed, manufactured, tested,

    marketed, advertised, promoted, distributed, and sold products such as Optease® Filters

    that are sold to and marketed as a temporary/retrievable device to prevent, among other

    things, recurrent pulmonary embolism via placement in the vena cava. One such

    Defendants' product, the Optease® Filter, is introduced into the vena cava via a 7 or 8.5

    French coaxial introducer sheath system, depending on the insertion location: femoral or

    jugular.

                   The Optease® Filter Set is collectively referred to herein as the Optease

    Filter.

                   Defendants sought Food and Drug Administration ("FDA") approval to

    market the Optease Filter Devise and/or its components under section 510(k) of the

    Medical Device Amendment.

                   Section 510(k) allows marketing of medical devices if the device is

    deemed substantially equivalent to other legally marketed predicate devices without

    formal review for the safety and efficacy of the said device.

                   An Optease® Filter, like the Optease® Filter, is a device designed to filter

    blood clots (called "thombi") that would otherwise travel from the lower portions of the

    body to the heart and lungs. Optease® Filters may be designed to be implanted, either

    temporarily or permanently, within the vena cava.

                   The inferior vena cava is a vein that returns blood to the heart from the

    lower portion of the body. In certain people, and for various reasons, thrombi travel form

    vessels in the legs and pelvis, through the vena cava into the lungs. Often these thrombi
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 12 of 21 PageID #: 19




    develop in the deep leg veins. The thrombi as called "deep vein thrombosis" or DVT.

    Once the thrombi reach the lungs they are considered "pulmonary emboli" or PE. PE

    presents a. grave risk to human life and often results in death.

                   A vena cava filter, like the Optease® Filter, is designed to prevent

    thromboembolic events by filtering or preventing blood clots/thrombi from traveling to

    the heart and/or lungs.

                   The Optease® Filter was sold and marketed as a temporary/ retrievable

    filter, and based on the Optease® Filter, which is a permanent filter.

                   The Optease® Filter has four (4) anchoring struts for fixation and eight (8)

    independent secondary struts to improve self-centering and clot trapping.

                   On or about 05/29/2009, Plaintiff was implanted with an Optease® filter

    known as the Optease® Filter which was designed, manufactured, marketed, distributed

    and sold by Cordis Corporation.

                    Plaintiff believes and thereupon alleges that following placement of the

    Optease® filter, he was instructed by his physician that the Optease® filter would be left

    in for one week and the removed as an outpatient. On 06/04/2009, Plaintiff underwent a

    procedure to remove the Optease® filter. The procedure had to be terminated due to the

    migration inferiorly of the Optease® filter. A consultation was placed with a physician at

    the Charleston Area Medical Center for possible transfer for Optease® filter removal.

    Plaintiff thereby had to undergo a second surgery and incurred additional medical costs

    due to the migration of the Optease® filter.

                    At all times relevant hereto, the Optease® Filter was widely advertised and

    promoted by the Defendants as a safe and effective treatment for prevention of recurrent


                                                   4
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 13 of 21 PageID #: 20




    pulmonary embolism via placement in the vena cava as a temporary/retrievable device.

                   At all times relevant hereto, Defendants knew their Optease® Filter was

    defective and knew that defect was attributable to the design's failure to withstand the

    normal anatomical and physiological loading cycles exerted in vivo.

                   The Defendants failed to disclose to physicians, patients, or Plaintiff that

    its Optease® Filter was subject to not being removedlretrieved once the risk for

    pulmonary emboli has passed, thus placing patients at risk for injury due to breakage and

    migration or risk of perforation and damage to the vena cava wall. These patients also

    require lifetime anticoagulation medication(s) and are at high risk for hemorrhage.

                   At all time relevant hereto, the Defendants continued to promote the

    Optease® Filter as safe and effective even though the clinical trials that had been

    performed were not adequate to support long or short term efficacy.

                   The Defendants concealed the known risks and failed to warn of known or

    scientifically knowable dangers and risks associated with the Optease® Filter, as

    aforesaid.

                   The Optease® Filter is constructed of conichrome.

                   The Defendants specifically advertise the conichrome construction of the

    filter as a frame which "reduces the risk of fracture."

                   The failure of the Optease® Filter is attributable, in part, to the fact that

    the Optease® Filter suffers from a design defect causing it to be unable to withstand the

    normal anatomical and physiological loading cycles exerted in vivo.

                   At all times relevant hereto the Defendants failed to provide sufficient
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 14 of 21 PageID #: 21




   warnings and instructions that would have put the Plaintiff and the general public on

    notice of the dangers and adverse effects caused by implantation of the Optease® Filter,

    including, but not limited to the design's failure to withstand the normal anatomical and

    physiological loading cycles exerted in vivo and the possibility that removal may be

    difficult and/or impossible without invasive procedures.

                   The Optease® Filter was designed, manufactured, distributed, sold and/or

    supplied by the Defendants, and marketed while defective due to the inadequate

    warnings, instructions, labeling, and/or inadequate testing in light of Defendants'

    knowledge of the products failure and serious adverse events.

                   That at all times relevant hereto, the officers and/or directors of the

    Defendants named herein participated in, authorized and/or directed the production and

    promotion of the aforementioned products when they knew or should have known of the

    hazardous and dangerous propensities of the said products, and thereby actively

    participated in the tortuous conduct that resulted in the injuries suffered by the Plaintiffs.

                     IV. COUNT ONE: STRICT PRODUCT LIABILITY

                                       (Against Defendants)

                   Plaintiff repeats and re-alleges each and every allegation contained in

    paragraphs one through thirty-three of Sections, I, II and III of this Complaint as though

    specifically pled herein.

                   At all times relevant hereto, the Optease® Filter was dangerous and

    presented a substantial danger to patients who were implanted with the Optease® Filter
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 15 of 21 PageID #: 22




    and these risks and dangers were known or knowable at the times of distribution and

    implantation in Plaintiff in 05/29/09. Ordinary consumers would not have recognized the

    potential risks and dangers posed to patients, because its use was specifically promoted to

    improve health of such patients. The Optease® Kilter was used by the Plaintiff and his

    treating physicians in a reasonably foreseeable manner.

                   The Defendants failed to provide warnings of such risks and dangers to the

    Plaintiff and his medical providers as described herein.

                   As a direct and proximate result of the Optease® Filter's defects, as

    described herein, Plaintiff suffered significant and severe injuries to his body resulting in

    significant expenses for medical treatment, as well as incurred a substantial loss of

    earnings, as well as non-economic damages.



                               V. COUNT TWO: NEGLIGENCE

                   Plaintiff repeats and re-alleges each and every allegation contained in

    paragraphs one through thirty-seven of the Complaint as though specifically pled herein.

                   At all times relevant to this cause of action, the Defendants were in the

    business of designing, developing, manufacturing, marketing and selling sophisticated

    medical devices, including the Optease® Filter.

                   At all times relevant hereto, the Cordis Corporation was under a duty to

    act reasonably to design, develop, manufacture, market and sell a product that did not

    present a risk of harm or injury to the Plaintiff and to those people receiving the

    Optease® Filter.
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 16 of 21 PageID #: 23




           39.    At the time of the manufacture and sale of the Optease® Filter, the Cordis

    Corporation knew or reasonably should have known the Optease® Filter:

                  Was designed and manufactured in such a manner so as to present an

                  unreasonable risk of fracture of portions of the device.

                  Was designed and manufactured so as to present an unreasonable risk of

                  migration of the device and/or portions of the device.

           C.     Was designed and manufactured to have unreasonable and insufficient

                  strength or structural integrity to withstand normal placement within the

                  human body; and/or,

           d.     Was designed and manufactured so as to present an unreasonable risk of

                  perforation and damage to the vena cava wall.

           40.    Despite the aforementioned duty on the part of Cordis Corporation they

    committed one or more breaches of the duty of reasonable care and were negligent in:

                  Unreasonably and carelessly failing to properly warn of dangers and risks

                  of harm associated with the Optease® Filter, specifically its incidents of

                  fracture, migration, perforation and other failure;

                  Unreasonably and carelessly manufactured a product that was insufficient

                  in strength of structural integrity to withstand the foreseeable use of

                  normal placement within the human body;

           C.     Unreasonably and carelessly designed a product that was insufficient in

                  strength or structural integrity to withstand the foreseeable use of normal

                  placement within the human body;
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 17 of 21 PageID #: 24




           d.      Unreasonably and carelessly designed a product that presented a risk of

                   harm to the Plaintiff and others similarly situated in that it was prone to

                   fail.

           41.     As a direct and proximate cause of the Optease® filter's defects, as

    described herein, Plaintiff, suffered significant and severe injuries to his body resulting in

    significant expenses for medical treatment, as well as incurred a substantial loss of

    earnings, as well as non-economic damages.

           WHEREFORE, the Plaintiff demands judgment against the Defendants and

    hereby prays that the Court enter an Order finding that Defendants, are strictly liable to

    your Plaintiff for all injuries and additional medical costs proximately caused by the

    defective product, or for all injuries proximately caused by the Defendants' negligence,

    fraud, breach of warranty or other wrongful conduct, said damages including but not

    being limited to:



                    Plaintiffs transfer to Charleston Area Medical Center;

           2.       Plaintiffs having to undergo and second surgery precipitated by the

                   migration of the Optease® Filter;

                    Additional medical costs incurred due to hospitalization at Charleston

                   Area Medical Center and the subsequent surgery;

                    Punitive damages as are appropriate against the Defendants upon the trial

                   of this action to punish and/or discourage behavior.

                    Altogether with pre-judgement and post-judgement interest, along with

                   attorney fees and such costs as may be assigned against the Defendants.
Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 18 of 21 PageID #: 25




                     PLAINTIFF DEMAND A TRIAL BY JURY




                                        NICHOLAS HENDRICKS,
                                        BY COUNSEL




                                                     P. LtIEARUITS ESQ. # 6252
                                                       LAW OFFICE
                                         Post Office Box 1680
                                         Pineville, West Virginia 24874
                                         Phone 304-732-0250
                                         Fax 304-732-0252
                                         Email: tim(iIIupardusIaw.com




                                        10
0123423105                                          6710/26/18
                Case 5:18-cv-01388 Document 1-1 Filed 879 9 7  Page 19 of 21 PageID #: 26




       " 22#
              7" 222 7278$#%&97'()" 2297'2'2#%
                           *7+797"2972, 7278$#% " 2287-2#
                              " 2272887# " 222./2877 $0
                $10271334972 7134'13135815 ''08 !4 1!! 11 021 4575'3034' 038 
                                                          5'47'14767#
                         777 /87 7" 222, 7278$#8&97 9 9799
              " 222972, 7278$#8777877 "297277872#8
                                                         67879 9 7 
         67879 9 7 
              :;<;=>?@A;BC>D
              05+'0!"2972778727277 0+E9*7105+'0!#
              FGHGCI?CA
              +JK6L7+JK,JKEMLJ*"2972778727277 0
              67879 9* 71+JK6L7331+JK,JKEMLJ*331#
              NOGCA
              PJ*EME*79EL*
              :BQCARS
              T7T*LMU67MEMU7
              :BQCAS
              K 7
              VGR<;@G>I?AG
              (7 97 /W777734W3105
              :GRA;H;GI>CQXYGR
               30'5 1003!05'0111135 5'6
              FG=;<GRS>I?AG
              4 /WJ7!W3105

 222972778727267 23340 !                                                023
0123423105                                          6710/26/18
                Case 5:18-cv-01388 Document 1-1 Filed 879 9 7  Page 20 of 21 PageID #: 27


              ]NIN5;?3?J;
              6^_0̀^a^6_^bc-0c0d60̀06+%_e7 f"2972778
              7272+$'$$ 67 23340 !#
              =9?HgN?3?>gh9i
              [%ja0db%__$.*kk133
              O3;52>A9l>@>2
              m7
              N9C:3?J@>5943C>
              `7 7"29727787272̀70 72n37 nn! 707500!4n
              110!! ! 3n#


             '7 797+$'$7,7 9 77977787  797 79 7-79 
             8 7$77 &8$ 7797 .77 9 97 &7 7/79 9
             88708&  979 7 8  779&" . 9&977 9  7887
               79&# 9 79 77 8123456789:;7:<5=>:?@3A5B39A9:C5DEE9F><5G3::H
             I3JA>H<5K945=3@?>@<567:3A25LJ;M:>@57@5N?3?>57E5O>;?5P9@C9:93.79&  QRS
             TUVWXUYUT 9 7797  77Z87 7
          
          "7
             22"
                   22
                         
                                       2'72277278(#)6
                                                                         (#)[9"+
                                                                                7    2"2
                                                                                              22
                                                                                                          2'2'77229979(#7
                                                                                                                                                     )$7\(#
                      " 22#                                                                                                             '&.$7&
       $ 7%79&67&" 222' 72797(#)*997$77" 22#




 222972778727267 23340 !                                                                                                   323
       Case 5:18-cv-01388 Document 1-1 Filed 10/26/18 Page 21 of 21 PageID #: 28




Date Produced: 10/08/2018

WEST VIRGINIA SECRETARY OF STATE:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 1251 3410
0002 3934 79. Our records indicate that this item was delivered on 10/05/2018 at 01:22 p.m. in
CHAGRIN FALLS, OH 44022. The scanned image of the recipient information is provided below.

Signature of Recipient :




Address of Recipient :




Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.




Customer Reference Number:           239347
